                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                             File No: 1:21-CR-40

                                                               HON. ROBERT J. JONKER
CHRISTOPHER ALLAN BODEN,
LEESA BETH VOGT and
DANIEL REYNOLD DEJAGER,

               Defendants.
                                         /


                ORDER GRANTING ENDS OF JUSTICE CONTINUANCE

        Before the Court is the defendants’ unopposed motion for ends of justice continuance of the

final pretrial presently scheduled for April 27, 2021, and trial scheduled for May 11, 2021 (ECF No.

29). The basis of the defendants’ motion is that additional time is necessary to receive and review

voluminous discovery, investigate, and explore plea resolution options.         The Certificate of

Concurrence (ECF No. 30) confirms counsel for the government does not object to the relief

requested.

        The Court finds that the ends of justice served by the granting of a continuance outweighs

the best interest of the public and the defendants in a speedy trial.

        NOW THEREFORE, pursuant to 18 U.S.C. §3161(h)(7)(B)(iv), an ends of justice

continuance is hereby entered. The final pretrial conference is rescheduled to August 27, 2021 at

3:00 p.m.    All motions shall be filed on or before July 1, 2021. Jury trial is rescheduled to

September 21, 2021 at 8:30 a.m.

Date:    April 12, 2021                        /s/ Robert J. Jonker
                                               ROBERT J. JONKER
                                               CHIEF UNITED STATES DISTRICT JUDGE
